           Case 3:23-cv-00459-VC Document 84 Filed 07/26/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  CHRISTINE WHALEN, et al.,                          Case No. 23-cv-00459-VC
                 Plaintiffs,
                                                     ORDER REGARDING HEARING ON
           v.                                        MOTION TO DISMISS AND MOTION
                                                     FOR A PRELIMINARY INJUNCTION
  ALBERTSONS COMPANIES INC., et al.,
                 Defendants.



       At tomorrow’s hearing, the parties should be prepared to discuss the following issues:

       1. On the specific facts of this case, the defendants’ ripeness argument may have merit,

but it could depend on whether there will be a meaningful opportunity for judicial review after

the contours of the merger agreement are finalized. Can the parties provide more specific

information about how much time will pass between finalization (following regulatory review)

and consummation of the agreement? Can the defendants agree to a particular time period in

advance?
       2. On the merits, the defendants appear to be arguing that the proposed merger must be

analyzed by examining thousands upon thousands of individual geographic grocery store

markets. If that is correct, how would a plaintiff (whether a private or government plaintiff) be

able to obtain an injunction against a merger like this? Must the plaintiff establish

anticompetitive effects in each of the thousands of markets? A majority of those markets?

Something less than a majority? Why, in the context of a nationwide merger, is it not appropriate

to analyze the net effect on grocery store competition throughout the country?
       3. Procedurally, if a private plaintiff is attempting to preliminarily enjoin a proposed
          Case 3:23-cv-00459-VC Document 84 Filed 07/26/23 Page 2 of 2




nationwide merger like this, must they do so in a proposed class action where a nationwide class

has been provisionally certified? See, e.g., Saravia v. Sessions, 280 F. Supp. 3d 1168, 1201–05

(N.D. Cal. 2017). And if the plaintiff is not representing a nationwide class, are they limited to

seeking an injunction against the portion of the merger that affects their own geographic market?

       IT IS SO ORDERED.

Dated: July 26, 2023
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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